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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA

                                            AT BECKLEY


STEPHANIE ADKINS and,
DOUGLAS SHORT, on behalf of themselves
and all others similarly situated,

                              Plaintiffs,

v.                                                           CIVIL ACTION NO. 5:17-cv-04107

MIDLAND CREDIT MANAGEMENT, INC.,

                              Defendant.


                                              ORDER

               On March 29, 2021, the parties submitted a Joint Status Report [Doc. 139]. The

parties request therein that the Court hold any further scheduling in abeyance for thirty days while

they endeavor to reach a settlement. Pursuant thereto, the Court SUSPENDS the scheduling order

and RETIRES the case to the inactive docket pending further order of the Court.

               The Court directs the Clerk to transmit a copy of this order to counsel of record and

to any unrepresented party.

                                                   ENTER: March 30, 2021
